Case 1:24-cv-21278-RKA Document 43 Entered on FLSD Docket 05/14/2024 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 24-cv-21278-ALTMAN/Sanchez

  TESLA, INC.,

         Plaintiff,

  v.

  THE INDIVIDUALS, PARTNERSHIPS,
  AND UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A,”

        Defendants.
  ______________________________________/

                                              ORDER

         The Plaintiff has filed a Notice of Voluntary Dismissal [ECF No. 39] pursuant to FED. R. CIV.

  P. 41(a)(1)(A)(i), informing the Court that it has dismissed this case as to Defendant 85 listed on

  Schedule A to the Complaint [ECF No. 7-3]. Accordingly, we hereby ORDER and ADJUDGE that

  the claims against Defendant No. 85 are DISMISSED without prejudice . The Clerk of Court is

  directed to TERMINATE Defendant No. 85 from the case.

         DONE AND ORDERED in the Southern District of Florida on May 13, 2024.




                                                          ________________________________
                                                          ROY K. ALTMAN
                                                          UNITED STATES DISTRICT JUDGE
  cc:    counsel of record
